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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND

GREGORY VARNSON

               Plaintiff,

V.                                                CIVIL ACTION NO

COLLECTCORP CORPORATION

Defendant.                                        AUGUST 25, 2010

                                       COMPLAINT

      1. Plaintiff seeks relief pursuant to the Fair Debt Collection Practices Act

("FDCPA"), 15 U.S.C. § 1692; Md. Ann. Code Commercial Law Maryland

Consumer Debt Collection Act. § 14-204 et seq. (“MCDCA”); and the Md. Ann.

Code Commercial Law Consumer Practices Act § 13-301 et seq.

     2. The Court's jurisdiction is conferred by 15 U.S.C.1692k

     3. Plaintiff is a natural person who resides in Baltimore, Maryland.

     4. Plaintiff is a consumer within the FDCPA.

     5. Defendant is a debt collector within the FDCPA and MCDCA.

     6. Defendant is a licensed collection agency by the Maryland Department of

Labor and Licensing.


     7. Defendant has a place of business at 455 N 3rd St Ste 260

Phoenix, AZ 85004-3937.
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   8. Defendant communicated with Plaintiff and others, on and after June 1,

2010 in connection with collection efforts with regard to Plaintiff’s disputed

personal debt to Bank of America.


    9. Plaintiff advised Defendant through their collection agency, that she

disputes the alleged debt.

   10. Defendant advised the Plaintiff that his dispute was not legitimate.


   11. Defendant advised the Plaintiff that her dispute did not meet the criteria of

disputes under the FDCPA.


   12. There is no criterion for valid or invalid disputes under the FDCPA.


   13. Defendant’s statements that my clients dispute was not legitimate is false,

deceptive and misleading and in violation of §1692e.


   14. Defendants statements that my clients dispute did not meet the criteria of

valid disputes violates the FDCPA, as the FDCPA has no criteria for valid or

invalid disputes and such statements are false, deceptive and misleading and

violate §1692e.


  15. Defendant through their collection agent advised Plaintiff if he did not

make a payment on June 11, 2010, that the account would go to a law office and

he would have to pay $7,000.00 in attorney fees.
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  16. Defendant has inadequate procedures in place to avoid such errors.


  17. Defendant called the Plaintiff using an auto dialer excessively and harassed

the Plaintiff.


  18. Defendant called the Plaintiff’s home, disguising their number from the

caller identification, so as to hide their identity.


 19. Defendant was advised on June 15, 2010 not to contact the Plaintiff at his

place of employment as it was inconvenient for him and against his employer’s

policy to obtain personal calls at work.


 20. Defendant continued to contact the Plain tiff at his place of work despite the

prohibition as stated in §1692c (1) (c).


 21. Defendant advised the plaintiff that he had to make immediate payment of

his debt on June 11, 2010, which overshadowed the validation of debts clause

§1692g.


22. In the collection efforts, the Defendant violated the FDCPA; inter alia, section

1692 c, e, f and g.


SECOND COUNT


23. The allegations of the First Count are repeated and realleged as if fully set

forth herein.
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24. Within three years prior to the date of this action Defendant has engaged in

acts and practices as to Plaintiff in violation of the Md. Ann. Code Commercial

Law Maryland Consumer Debt Collection Act § 14-204 et seq. (“MCDCA”); Md.

Ann. Code Business Regulation Collection Agencies § 7-301 et seq.

25. Defendant has committed unfair or deceptive acts or practices within the

meaning of the Md. Ann. Code Commercial Law Consumer Practices Act §

13-301 et seq.

WHEREFORE Plaintiff respectfully requests this Court to:


1. Award Plaintiff statutory damages pursuant to the Fair Debt Collection

Practices Act 15 U.S.C. §1692 et seq.;


2. Award Plaintiff statutory damages pursuant to the MCDCA.


3. Award the Plaintiff costs of suit and a reasonable attorney's fee;


4. Award and such other and further relief as this Court may provide.


                                                  THE PLAINTIFF

                                                  BY_______________________
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